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IN THE UNITED STATES DISTRICT COURT

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FOR THE WESTERN DISTRICT OF TENNESSEE15 JUL \9 PH 2; 31
WESTERN DIVISION

 

MORGAN KEEGAN & COMPANY, INC.,
et al.,

Plaintiffs,
vs.
INTERCEPT, INC., et al.
Defendants.

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Civ. NO. 04-2706-B[P

 

ORDER DEN'YING AS MOOT DEFENDAN'I"S MOTION' TO STAY LITIGATION AND
TO COMPEL ARBITRATION

 

Before the court is Defendant’S Motion to Stay Litigation

and to Compel Arbitration, filed on December 8, 2004 (Dkt. #25). On

January lO, 2005, Judge Breen eigned a Consent Order Referring Case

to Arbitration Before the Am@rican Arbitration Association. On

that basis,

IT IS SO ORDERED.

the motion is DENIED as MOOT.

 

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United States Magistrate Judge

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Date `~5

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This notice confirms a copy of the document docketed as number 45 in
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John S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Kristen C. Wright

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

David Wade

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

John Allen Good

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

